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                      UNITED STATES DISTRICT COURT
                        DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA,
         Plaintiff,


                 v.                                 CRIMINAL NO. 21-327 (ADC)

 [1] LUIS PINELA-PIZARRO,
 [26] WALESKA SANTANA-
 HERNANDEZ,
             Defendant.


                             BILL OF PARTICULARS
                                   (Forfeiture)

TO THE HONORABLE COURT:

      COMES NOW the United States of America, by and through the undersigned

Assistant United States Attorney, and pursuant to 21 U.S.C. §§ 841, 846, and 853 and

the Federal Rule of Criminal Procedure 32.2(a), particularly alleges that the following

property is subject to forfeiture on the basis of the narcotics forfeiture allegation set

forth in the Indictment filed in the present criminal case: $13,213.13 IN UNITED

STATES CURRENCY.

      RESPECTFULLY SUBMITTED.

      In San Juan, Puerto Rico, this 3rd day of November 2021.

                                         W. STEPHEN MULDROW
                                         United States Attorney


                                         /s/Victor O. Acevedo-Hernández
                                         Victor O. Acevedo-Hernández
                                         Assistant United States Attorney
                                         U.S.D.C. No. 227813

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Criminal No.: 21-327 (ADC)


                                         Torre Chardón, Suite 1201
                                         350 Carlos Chardón Street
                                         Hato Rey, PR 00918
                                         Tel. (787) 766-5656; Fax. (787) 766-5398
                                         Email: victor.o.acevedo@usdoj.gov

                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, I electronically filed the foregoing with the Clerk of

the Court using the CM/ECF system which will send notification of such filing to all

parties.

       RESPECTFULLY SUBMITTED,

                  In San Juan, Puerto Rico, this 3rd day of November 2021.

                                         /s/Victor O. Acevedo-Hernández
                                         Victor O. Acevedo-Hernández
                                         Assistant United States Attorney




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